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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 23-80101-CR-CANNON/REINHART

 IN RE: SEALED INDICTMENT
 ___________________________________/


                                      MOTION TO UNSEAL

        The Special Counsel, by and through the undersigned Assistant Special Counsel, moves to

 unseal the Indictment and docket in this case. The conditions supporting the Court’s sealing order

 no longer prevail and unsealing the Indictment is in the public interest.

                                               Respectfully submitted,

                                               JACK SMITH
                                               SPECIAL COUNSEL

                                       BY:     s/Karen E. Gilbert
                                               Karen E. Gilbert
                                               Assistant Special Counsel
                                               Florida Bar No. 771007
                                               950 Pennsylvania Avenue NW
                                               Room B-206
                                               Washington, D.C. 20530
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-80101-CR-CANNON/REINHART

 IN RE: SEALED INDICTMENT
 ___________________________________/




                                      ORDER TO UNSEAL

          The Special Counsel, having applied to this Court for an Order unsealing the Indictment

 and the docket in this case, for the reason that conditions supporting the Court’s sealing order no

 longer prevail and unsealing the Indictment is in the public interest, and the Court finding good

 cause:

          IT IS HEREBY ORDERED that the Indictment and docket in this case shall be unsealed.

          DONE AND ORDERED in chambers at Miami, Florida, this 9th day of June 2023.



                                              _________________________________________
                                              HON. EDWIN G. TORRES
                                              CHIEF UNITED STATES MAGISTRATE JUDGE
